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                                                                              2019 Apr-09 PM 04:46
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

BIRMINGHAM EMERGENCY                     )
COMMUNICATIONS DISTRICT,                 )
                                         )
      Plaintiff,                         )
v.                                       )           Civil Action Number
                                         )           2:15-cv-00245-AKK
TW TELECOM HOLDINGS, INC.,               )
et al.,                                  )
                                         )
      Defendants.                        )

                                    ORDER

      Consistent with the parties’ Joint Stipulation of Dismissal, doc. 73, the

court’s order of March 7, 2019, doc. 72, is REVISED to reflect that this action is

now DISMISSED WITH PREJUDICE. The parties bear their own costs.

      DONE the 9th day of April, 2019.


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                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE
